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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form

            Alhummza Stokes, v. City of
Case Title: Chicago, et al.,                               Case Number: 20-cv-4716


An appearance is hereby filed by the undersigned as attorney for:
Ronald Watts

Attorney name (type or print): Brian P. Gainer

Firm: Johnson & Bell, LTD

Street address: 33 W. Monroe Street, Suite 2700

City/State/Zip: Chicago, Illinois 60603

Bar ID Number: 6286200                                     Telephone Number: 312-372-0770
(See item 3 in instructions)

Email Address: GainerB@jbltd.com

Are you acting as lead counsel in this case?                                         Yes           No

Are you acting as local counsel in this case?                                        Yes           No

Are you a member of the court’s trial bar?                                           Yes           No

If this case reaches trial, will you act as the trial attorney?                      Yes           No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel" are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this $ourt an attorney must either be a member in good standing of this $ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 &.%.$#§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on February 15, 2021

Attorney signature:            S/ Brian P. Gainer
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
